                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 UNITED STATES OF AMERICA,                            )
                                                      )
                 Plaintiff,                           )
                                                      )
 v.                                                   )       No.:   3:13-CR-106-TAV-CCS-5
                                                      )
 JOY ELIZABETH BARRON,                                )
                                                      )
                 Defendant.                           )


                         MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on the defendant’s pro se letter and motion

 requesting additional credit for time served [Doc. 245; Doc. 251].               The defendant

 requests that she receive federal sentence credit for the six months that she was

 incarcerated prior to coming into federal custody in August 2013. The government has

 responded in opposition, arguing that the Court does not have jurisdiction over the

 defendant’s request, and in any event, the defendant is not entitled to the credit she seeks

 [Doc. 254].

        The calculation of a term of imprisonment for a federal prisoner, including any

 award of credit for time served, is governed by 18 U.S.C. § 3585.1 “This Court cannot

        1
            Section 3585 provides:

                 (a) Commencement of sentence.—A sentence to a term of
                 imprisonment commences on the date the defendant is received in
                 custody awaiting transportation to, or arrives voluntarily to
                 commence service of sentence at, the official detention facility at
                 which the sentence is to be served.




Case 3:13-cr-00106-TAV-CCS           Document 259         Filed 08/05/15    Page 1 of 3   PageID
                                           #: 935
 grant or compute sentence credits under 18 U.S.C. § 3585(b). That task is reserved for

 the Attorney General of the United States through the [Bureau of Prisons].” United

 States v. Williams, 2008 WL 3850212, at *1 (W.D. Tenn. Aug. 18, 2008) (citing United

 States v. Wilson, 503 U.S. 329, 333–34 (1992) and United States v. Cobleigh, 75 F.3d

 242, 251 (6th Cir. 1996)).

        Thus, a prisoner seeking credit for time spent in custody must first exhaust her

 administrative remedies through the Bureau of Prisons, Wilson, 503 U.S. at 335, and

 failing that, petition the district court for habeas corpus review pursuant to 28 U.S.C. §

 2241, McClain v. Bureau of Prisons, 9 F.3d 503, 505 (6th Cir. 1993). Any such petition

 generally should be filed in the district where the prisoner is being held. See United

 States v. Garcia-Echaverria, 374 F.3d 440, 449 (6th Cir. 2004) (“Absent special

 circumstances not present here, a petition for a writ of habeas corpus is properly filed

 only in a court that has personal jurisdiction over the alien’s immediate custodian.”).



               (b) Credit for prior custody.—A defendant shall be given credit
               toward the service of a term of imprisonment for any time he has
               spent in official detention prior to the date the sentence
               commences—

                      (1) as a result of the offense for which the sentence was
                      imposed; or

                      (2) as a result of any other charge for which the defendant
                      was arrested after the commission of the offense for which
                      the sentence was imposed;

               that has not been credited against another sentence.

 18 U.S.C. § 3585.

                                                2


Case 3:13-cr-00106-TAV-CCS         Document 259        Filed 08/05/15    Page 2 of 3   PageID
                                         #: 936
        Here, the defendant is incarcerated in Aliceville, Alabama. Therefore, even if the

 defendant had exhausted her administrative remedies—which has not been shown—the

 Court would not have jurisdiction over any habeas corpus petition brought pursuant to §

 2241. Additionally, the defendant has not provided any other statutory basis for relief.

 See United States v. Ross, 245 F.3d 577, 586 (6th Cir. 2001) (stating that “[t]he authority

 of a district court to resentence a defendant is limited by statute” and “18 U.S.C. §

 3582(c)(1)(B) expressly prohibits . . . resentencing of a defendant beyond those

 exceptions expressly enacted by Congress”).

        Therefore, the Court concludes that it lacks jurisdiction to grant the defendant

 relief. Accordingly, the defendant’s motion [Doc. 245; Doc. 251] is DENIED.

        IT IS SO ORDERED.



                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE




                                             3


Case 3:13-cr-00106-TAV-CCS        Document 259      Filed 08/05/15    Page 3 of 3    PageID
                                        #: 937
